                                   Case 1:10-cv-01501-WMN Document 1 Filed 06/08/10 Page 1 of 3
                                                    IN THE UNITED STATES DISTRICT COUHT
                                                       FOR THE DISTRICT OF MARYLAND

                                                                                                                                    FILED               ENTERED
       £r---'l" C. i ~ IrK II)                   Q)~                    _                  *                                        LOGGED              RECEIVED


       1'. c. gox                   t23~ 10                                                                                          JUN 08 2010
                                                                                                                                       AT B"'UIMOrlE

           t-b            111.{)(JZ.   M ~ -:z I        _                                  *
                                                                                                                                 CLERK, U S DISTRICT GOURT
                                                                                                                                   DISTRICT QF M"'F1YLANO


       (Full nome and address of the plaimifJ)                                                                              IV                               [JEI'UTY

                            Plaintiff(s)
                                                                                                                  ~ ~i~.~'" \
                                         \'S,
                                                                                       *                 Civil 1\' j~Wlfi, ,:10 CV 1 5 0 L
                                                                                                                            TrJbe Jll!ed in by Court.)
     _:S C f.zQAj--l2,:LrL    _                                                                          (Leav'e blank.


     (; <;0 L.~?;g~.liv._R._,   _                                                      *
     net" 0, Th"7iS 7;0 7 J+
     ~~                                ~C()-'2~2-"6;                                   *
    ~LU~_~i1Avtta)-L<'~M                                                          ..
     (Fud       nUt}]!!    mf1addresl         (J/lhc dc."Tf:NJ/um(lj)        ~
                                                  Dcfcndant(s)
                                                                                 *****;.;:


                                                                            COIVIPLAI:\'T

                   1.          Jurisdiction     in this case is based on:

                               o       Diversity (none of the defendants
                                       resident)
                                                                                               are residents
                                                                                               ---- __ ~ _
                                                                                                               of the state where plaintiff is a


                                       Federal question (suit is based upon a federal statute or provision olthe Unikd
                                       States Constitution)

                              n        nther (expbin)                                                                                        _




COlllplallll   (ReI'    1212(00)
                                Case 1:10-cv-01501-WMN Document 1 Filed 06/08/10 Page 2 of 3


                    2.          The facts of this case are:


                                                                                                                                                      +
                                ~dM>4-t
                                Cflt/'Cd    --&a    MQ            J
                                                                      ":J
                                                                      Yl ~
                                                                             C     tet'Yl
                                                                                            r
                                                                                         I'1A,tO   r4h-
                                                                                                            ,.r,S'tl.R    ~_
                                                                                                                 e4b-Apn't 2 (j 0 P.
                                                                                                                                          G-tLc(1


                               1n     flMl fV'11.,            iff:  1.crb q Mr-.'3 dY..ph-_'["cI~
                                                                             M.(J~

                               g4d~<>              IAlh.c did n....,f- wa-vvl /1A.i ::b----l4v~ <W
                               h ~h                a.....J A.M..e. Su u.~    t'tt UIp-p,t:.e rf11Jl.
                               W h.<>U             ft;vL;. '11               1. l.R:#              .'       '1 .N i7!/(ia            :~ y      J!A.R.a.-I
                                      A
                               to 14n W                       ~                        ~V£JI                 Oifiwt"..e        :s (, Pe-itl\,!7
                                t.4hd       ~                         c.,~ltt(f                         I'kJ fr!'CL                  M WftM
                               -L       b~           il'OfAAdi?f                       ~~¥11                      '!'1f ~
                               aJ        n~             b   l.."".)h Or;         9f-~.                      tiAJ'11 -Rji            lie- j.s
                               db I'"1)=f4j.dc                        Mlh.d £Y 11M.                -&-. J&1?} Cr,d;t--
                               C4¥"J in ul1l'w:L~_-ah.d~y.                                             ie b ,~ k
                               ~~}'Vt-L~.                                                               .                           _

                                    -.sc.S.ef4          l2a~                     ahJ/ h;,r (Af\~iraAvr                              WQ    h..ew~
                           aJe,1-1lt. __" 4~bJ,(.llIbi                        .s/<~                bkua<:.ti-             _          -Crpl,t
                           (A vd, l\J~-/lAI'W                         ..I-       a.t                                     p.e.. "t       Jtl/.-v

                           v£JN:              awJ~                                                                        ~\}Y1iC1...      ToUr),
                          16 a~,              ) ~ LA P-1~.L...illLJ:y-A~r                                         /lUhAJ- hi CINIJ•• J'
                           ~~j~.j:'"--~~~tJ2'b2.                                       tt..d            ~ hav£.             fL,o    red
                          -~jLand                           J.R. ~~                                             I7~T            f2JAf'I.o f-       /JA,,,R
                                                    ~        ~----------

ComplallJl   IRev   12'2000)
                                                                       2
                                  Case 1:10-cv-01501-WMN Document 1 Filed 06/08/10 Page 3 of 3

                       3.         The relief I want the court to order is:




                                                                                                       .IrE;,.!n,~
                                                                                                               ,




                                         Privacy   Rules and Judicial   Conference   Pdvacy   Policy

- - Under-the-E-Governmcnt     __
                                Act and~JudiciaIConferencepolicy;    any paper filed with the-Tourt should not ---_
    contain an individual's social security number, full birth date, or home address; the full name of person
    known to be a minor; or a complete financial account number. These rules address the privacy concerns
    resulting from public access to electronic case files.




 CO/llpJaJllI   (kev   12/2(00)
                                                                3
